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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                           Crim. No. 18-CR-32-2 (DLF)
 CONCOR MANAGEMENT AND
 CONSULTING LLC,

               Defendant.


          GOVERNMENT’S MOTION FOR PERMISSION TO OBTAIN
    THE TRANSCRIPT OF THE TELEPHONIC HEARING ON OCTOBER 29, 2019


       On October 29, 2019, the Court held an ex parte, under seal telephonic hearing with

government counsel that is the subject of Defendant Concord Management and Consulting’s

Motion to Disclose Ex Parte Communications Regarding the Government’s Intention to Seek a

Superseding Indictment [Dkt. No. 225]. The government now requests that the Court issue an

order unsealing the transcript of this hearing for the limited purpose of allowing the government

to review the transcript and respond to the defense motion, specifically, to determine whether

redactions are necessary to protect grand jury material covered by Rule 6(e) of the Federal Rules

of Criminal Procedure.

                                     Respectfully submitted,


JOHN C. DEMERS                                             JESSIE K. LIU
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By: /s/                                                    By: /s/
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